     Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 1 of 34




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

DOMINGO ARREGUIN GOMEZ, ET AL.,
                         Plaintiffs,
        v.
                                        Case No. 1:20-cv-01419
DONALD J. TRUMP, PRESIDENT OF THE
UNITED STATES OF AMERICA, ET AL.,
                          Defendants.




                   AMICUS BRIEF OF LEADING COMPANIES
               AND BUSINESS ORGANIZATIONS IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 2 of 34




                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Local Civil Rule 7(o)(5) and Federal Rules of Appellate Procedure 26.1 and

29(a)(4)(A), amici curiae make the following disclosures:

       Each of the following amici states that it is not a corporation, it has no parent corporation,

and that no publicly held corporation owns 10% or more of its stock: Denver Metro Chamber of

Commerce; HR Policy Association; Information Technology Industry Council; Semiconductor

Industry Association (SIA).

       Each of the following amici states that it has no parent corporation and that no publicly

held corporation owns 10% or more of its stock: Adobe Inc.; Alliance of Business Immigration

Lawyers; Amazon.com, Inc.; Apple Inc.; Autodesk, Inc.; Bates White, LLC; Box, Inc.; BSA

Business Software Alliance, Inc. d/b/a BSA | The Software Alliance; Consumer Technology

Association; Dropbox, Inc.; Facebook, Inc.; FWD.us Education Fund; Hewlett Packard

Enterprise Company; HP Inc.; Institute of International Bankers; Intel Corp.; Juniper Networks,

Inc.; Metro Atlanta Chamber; Microsoft Corporation; Netflix, Inc.; North Texas Commission;

Partnership for a New American Economy Research Fund; Plaid Inc.; Postmates Inc.; Reddit,

Inc.; salesforce.com, inc.; SAP SE; ServiceNow, Inc.; Shutterstock, Inc.; Splunk Inc.; Square,

Inc.; Twitter, Inc.; Upwork Inc.; Vail Valley Partnership; Xylem Inc.; Zillow Group, Inc.

       Amicus Atlassian, Inc. states that it is a wholly-owned subsidiary of Atlassian

Corporation PLC, a publicly traded company.

       Amicus GitHub, Inc. states that it is a wholly owned subsidiary of Microsoft Corporation,

a publicly traded company.

       Amicus Internet Association states that it is not a publicly held corporation and does not

have a parent corporation. No publicly traded corporation owns ten percent or more of its stock.




                                                 i
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 3 of 34




       Amicus LinkedIn Corporation states that it is a wholly owned subsidiary of Microsoft

Corporation, a publicly traded company.

       Amicus New Imagitas, Inc. states that it is a North Carolina corporation whose ultimate

parent is Red Ventures Holdco, LP.

       Amicus PayPal, Inc. states that it is a wholly owned subsidiary of PayPal Holdings, Inc., a

publicly traded company.

       Amicus Silicon Valley Bank states that it is a wholly owned subsidiary of SVB Financial

Group, a publicly traded company.

       Amicus Society for Human Resource Management (SHRM) states that it is a 501(c)(6)

professional association incorporated under the laws of the state of Ohio with its principal

headquarters in Alexandria, Virginia. SHRM does not have any parent company nor does any

publicly held corporation have any ownership interest in SHRM.

       Amicus SurveyMonkey Inc. states that it is wholly owned by SVMK Inc., a publicly

traded company. No other entity, stockholder or affiliate owns more than 10% of

SurveyMonkey Inc.

       Amicus Uber Technologies, Inc. states that it is a publicly held corporation with no parent

company. Based on filings made on February 14, 2020 by SB Cayman 2 Ltd. with the U.S.

Securities and Exchange Commission (“SEC”) regarding beneficial ownership, SB Cayman 2

Ltd., a private company, beneficially owns more than 10% of Uber’s outstanding stock. SB

Cayman 2 Ltd. is an affiliate of Softbank Group Corp., a publicly held corporation. Based on

SEC filings regarding beneficial ownership of Uber’s stock, Uber is unaware of any other

publicly held corporation that beneficially owns more than 10% of Uber’s outstanding stock.




                                                 ii
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 4 of 34




       Amicus VMware, Inc. states that it is majority owned through a series of entities

including VMW Holdco LLC, EMC Corporation, Dell Inc., Denali Intermediate Inc., and Dell

Technologies Inc. The lone publicly traded corporation owning 10% or more of VMware, Inc. is

Dell Technologies Inc.

       Amicus Workday, Inc. states that it has no parent corporation, and that T. Rowe Price, a

publicly-held corporation, owns at least 10% of its stock.




                                                iii
            Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 5 of 34




                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... v

IDENTITY AND INTEREST OF AMICI CURIAE ...................................................................... 1

INTRODUCTION ......................................................................................................................... 2

ARGUMENT ................................................................................................................................ 4

I.        The Suspended Visa Programs Have A Well-Established And Documented
          Track Record Of Benefiting The U.S. Economy. .............................................................. 4

          A.         The H-1B program for specialty occupations boosts the U.S. economy. .............. 4

          B.         The H-2B program for nonagricultural workers also serves an essential
                     role in the economy. ............................................................................................... 6

          C.         The L-1 visa program for intracompany transfers keeps jobs in the U.S. and
                     boosts the competitiveness of U.S. companies. ..................................................... 8

II.       Unless It Is Enjoined, The Proclamation Will Continue To Impose Irreparable
          Harm On Businesses And The Nation’s Economy. ........................................................... 9

          A.         Many leading businesses have recognized that the indefinite suspension of
                     nonimmigrant visas threatens U.S. competitiveness, ingenuity, and growth. ..... 10

          B.         The Proclamation is likely to drive talent abroad to the detriment of the
                     U.S. economy and the benefit of its global competitors. ..................................... 11

          C.         The sudden suspension of nonimmigrant visas is harming U.S. businesses
                     and workers in ways that will have lasting impacts. ............................................ 15

CONCLUSION ............................................................................................................................ 19




                                                                    iv
            Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 6 of 34




                                                TABLE OF AUTHORITIES

Cases

Doe #1 v. Trump,
   957 F.3d 1050 (9th Cir. 2020) ...................................................................................................3

Trump v. Hawaii,
   138 S. Ct. 2392 (2018) ...............................................................................................................3

Statutes

8 U.S.C. § 1101(a)(15)(H)(ii)(b)......................................................................................................6

8 U.S.C. § 1182(f) ........................................................................................................................2, 3

8 U.S.C. § 1184(c)(2)(D) .................................................................................................................8

Regulations and Other Executive Branch Authorities

8 C.F.R. § 214.2(h)(6)(iv)(A) ..........................................................................................................6

8 C.F.R. § 214.2(h) ..........................................................................................................................4

85 Fed. Reg. 28843 (May 14, 2020) ................................................................................................7

Ken Cuccinelli (@HomelandKen), Twitter (June 22, 2020),
   https://twitter.com/HomelandKen/status/1275201179920760839 ............................................9

Memorandum from USCIS on L-1B Adjudications Policy, PM-602-0111,
  (Aug. 17, 2015), https://bit.ly/2PscUXI .....................................................................................8

Proclamation 10052 of June 22, 2020, Suspension of Entry of Immigrants
   and Nonimmigrants Who Present a Risk to the United States Labor
   Market During the Economic Recovery Following the 2019 Novel
   Coronavirus Outbreak, 85 Fed. Reg. 38263 (June 25, 2020),
   https://bit.ly/2PrxbN1.................................................................................11, 12, 13, 15, 16, 17

Transcript of White House Background Press Call Concerning the June 22
   Presidential Proclamation Suspending Entry of Certain Nonimmigrants (June
   22, 2020), https://perma.cc/Z9YU-MUZK ..............................................................................11

United States Department of State, Important Announcement on H2 Visas, Bureau
   of Consular Affairs (Mar. 26, 2020), https://bit.ly/2C0nyll .......................................................8




                                                                      v
            Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 7 of 34




Other Authorities

American Immigration Council, The H-1B Visa Program: A Primer on the
  Program and Its Impact on Jobs, Wages, and the Economy (Apr. 2020),
  https://bit.ly/2EViDmZ ..........................................................................................................5, 6

Stuart Anderson, New Trump H-1B Visa Restrictions Will Harm Companies,
   Forbes (June 23, 2020), https://bit.ly/2Dhf3TQ ..................................................................11, 12

Zachary Arnold & Tina Huang, The US Is Turning Away the World’s Best
   Minds—And This Time, They May Not Come Back, MIT Technology Review
   (July 14, 2020), https://bit.ly/33vmLEw ..................................................................................15

Shelly Banjo, Trump’s Visa Ban Is Already Hurting Some Tech Job Growth,
   Bloomberg (July 6, 2020), https://bloom.bg/3ibD7pJ .............................................................15

David J. Bier, About 20,000 U.S. Employers Are Affected by Trump’s Travel Bans
   This Year, Cato at Liberty (July 16, 2020), https://bit.ly/3i9NxGw ..........................................9

David J. Bier, The Facts About the L-1 Visa Program, Cato at Liberty (June 10,
   2020), https://bit.ly/2EWvrtl ......................................................................................................9

Mark Boroush, Research and Development: U.S. Trends and International
  Comparisons, National Science Foundation (Jan. 15, 2020),
  https://bit.ly/2Puq8mK .............................................................................................................13

Tim Cook (@tim_cook), Twitter (June 23, 2020),
   https://twitter.com/tim_cook/status/1275407136256712707...................................................10

Andrew Edgecliffe-Johnson, U.S. Companies Say Visa Rules Are Jobs Boon for
   Canada, Financial Times (June 26, 2020), https://perma.cc/MP7G-ZSKB ......................14, 15

French Tech Visa, https://bit.ly/30ti6Ro........................................................................................15

Britta Glennon, How Do Restrictions on High-Skilled Immigration Affect
    Offshoring? Evidence from the H-JB Program, University of Pennsylvania,
    Wharton School (Paper No. 3547655, Feb. 21 2020), https://bit.ly/39XDscO ...........12, 13, 14

Jason Henry, The Visas and The Fury, New York Times (June 23, 2020) ...................................10

H.R. Rep. No. 91-815 (1970), 1970 U.S.C.C.A.N. .........................................................................8

IMG Forum, High-Skilled Immigrant Visas, University of Chicago Booth (Feb.
  14, 2017), https://bit.ly/3gxUIYI .............................................................................................16

IMG Forum, New Visa Ban, University of Chicago Booth (June 26, 2020),
  https://bit.ly/33w8Aig ..............................................................................................................18



                                                                   vi
            Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 8 of 34




Takao Kato & Chad Sparber, Quotas and Quality, The Effect of H-1B Visa
   Restrictions on the Pool of Prospective Undergraduate Students from Abroad
   (May 2010), https://bit.ly/3kozGhF .........................................................................................18

Letter from 324 Employers and Trade, Industry, and Higher Education
    Associations and Groups Across the American Economy Focused on the
    High-skilled Workforce to President Donald J. Trump, Secretary of State
    Michael Pompeo, Secretary of Labor Eugene Scalia, and Acting Secretary of
    Homeland Security Chad Wolf (May 21, 2020), https://bit.ly/3fuKvLd ...........................4, 5, 9

Aaron Levie (@levie), Twitter (June 22, 2020),
   https://twitter.com/levie/status/1275194199822856192 ..........................................................14

Tobi Lutke (@tobi), Twitter (June 23, 2020),
   https://twitter.com/tobi/status/1275406372411146245 ...........................................................14

Steven Musil, Trump Executive Order Suspending H-1B Visas Takes Heat From
   Tech Giants, CNET (June 23, 2020), https://cnet.co/3fDtnTO ...............................................10

National Foundation for American Policy, Analysis of Employment Data for
   Computer Occupations, NFAP Policy Brief (May 2020),
   https://bit.ly/2PugvEA ...............................................................................................................5

William W. Olney & Dario Pozzoli, The Impact of Immigration on Firm-Level
   Offshoring, Dept. of Economics, Williams College (June 13, 2019),
   https://bit.ly/3a36loa ................................................................................................................12

Giovanni Peri, Kevin Shih, & Chad Sparber, STEM Workers, HJB Visas, and
   Productivity in US Cities, 33 J. Labor Econ. S225 (2015),
   https://bit.ly/3abRAQ1 .............................................................................................................16

Giovanni Peri & Chad Sparber, Presidential Executive Actions Halting High
   Skilled Immigration Hurt the US Economy, U.C. Davis Global Migration
   Center (July 2020), https://bit.ly/2DAAS0q ............................................................................14

Sundar Pichai (@sundarpichai), Twitter (June 22, 2020),
   https://twitter.com/sundarpichai/status/1275192075214966784. ............................................10

Patrick Pichette (@pichette), Twitter (June 22, 2020),
    https://twitter.com/pichette/status/1275257776835608576 .....................................................14

Dan Schulman, LinkedIn (June 22, 2020), https://bit.ly/2PuvYol ................................................11

Brad Smith (@BradSmi), Twitter (June 22, 2020),
   https://twitter.com/BradSmi/status/1275232627453288450 ...................................................10




                                                                    vii
            Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 9 of 34




Frederick R. Treyz, Corey Stottlemyer, & Rod Motamedi, Key Components of
   Immigration Reform: An Analysis of the Economic Effects of Creating a
   Pathway to Legal Status, Expanding High-Skilled Visas, and Reforming
   Lesser-Skilled Visas, Regional Economic Models, Inc. (2013),
   https://bit.ly/31myL8C ...............................................................................................................5

United States Government Accountability Office (GAO), H-2B VISAS:
   Additional Steps Needed to Meet Employers’ Hiring Needs and Protect U.S.
   Workers (Apr. 2020), https://bit.ly/3i94y3y ..........................................................................6, 7

Michael E. Waugh, Firm Dynamics and Immigration: The Case of High-Skilled
   Immigration, Nat’l Bureau of Econ. Research (Working Paper No. 23387,
   2017), https://bit.ly/3fAXURY ......................................................................................6, 16, 17

Madeline Zavodny & Tamar Jacoby, The Economic Impact of H-2B Workers,
  U.S. Chamber of Commerce & ImmigrationWorks USA (2010),
  https://bit.ly/39YlkQ4 ................................................................................................................6

Madeline Zavodny, Immigration and American Jobs, American Enterprise
  Institute for Public Policy Research & Partnership For a New American
  Economy (Dec. 2011), https://bit.ly/3a3xaZ9............................................................................6

Madeline Zavodny, The Impact of H-1B Visa Holders On The U.S. Workforce,
  National Foundation for American Policy, NFAP Policy Brief (May 2020),
  https://bit.ly/3gyJkf0 ..................................................................................................................5

Rule

Local Civil Rule 7(o)(2)...................................................................................................................1




                                                                   viii
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 10 of 34




                       IDENTITY AND INTEREST OF AMICI CURIAE

        Amici are corporations, trade associations, and other organizations focused on the

business community. They represent a broad range of sectors of the U.S. economy.

Collectively, they have hundreds of thousands of employees and members across the country and

represent hundreds of billions of dollars in annual economic activity. Amici have extensive

experience with employment-based visas, including the H-1B, H-2B, and L-1 programs recently

suspended by the President; they include some of the greatest beneficiaries of those programs.

They have experienced firsthand the benefits of these programs for their companies, their

employees, and the U.S. economy more broadly.1 Based on that experience and knowledge, they

submit this brief pursuant to Local Civil Rule 7(o)(2) to highlight the serious economic impact of

suspending these programs and the ongoing and irreparable harms that result from doing so.2




 1
     A full list of amici is set forth in the attached Appendix.
 2
     No party to the above-captioned action or any of their counsel authored this brief in whole or
     in part or contributed money that was intended to fund preparing or submitting this brief. No
     third party—other than the amici curiae, their members, or their counsel—contributed money
     that was intended to fund preparing or submitting this brief.


                                                   1
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 11 of 34



                                         INTRODUCTION

       For decades, U.S. businesses have welcomed thousands of highly-skilled and motivated

workers from abroad to work temporarily in the United States through nonimmigrant visa

programs established by Congress. These initiatives, including the H-1B, H-2B, and L-1 visa

programs, help drive American growth and innovation by attracting the world’s best talent—

including engineers, doctors, bankers, biomedical researchers, software developers, and tech

executives—at a time when the global contest to attract skilled workers is increasingly competitive.

The programs have been an unequivocal success, earning praise from presidents of both political

parties. They are widely understood as benefitting not only U.S. companies and the foreign

workers they employ, but also domestic wage earners, families, communities, and the American

economy more broadly.

       On June 22, 2020, President Trump signed Proclamation 10052 (the “Proclamation”),

which suspends—through the end of the year and as long thereafter as he deems “necessary”—

issuance of new nonimmigrant visas throughout the legal immigration system, including the H-1B,

H-2B, and L-1 programs. The stated ground for the indefinite suspension is that entry of

nonimmigrant workers at this time is “detrimental to the interests of the United States” given

“economic disruptions caused by the COVID-19 outbreak” and a purported lack of “alternative

means to protect unemployed Americans from the threat of competition for scarce

jobs.” According to the Administration’s own estimates, the President’s actions will prevent more

than half a million work-authorized individuals from coming to the United States by year’s

end. And experts estimate the Proclamation will prevent roughly 20,000 employers from filling

positions during that same period.

       These policies were undertaken as a purported exercise of the President’s authority under 8

U.S.C. § 1182(f), which requires, at the threshold, a “find[ing]” that his actions serve “the interests

                                                   2
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 12 of 34




of the United States.” While Section 1182(f) affords great deference to the President “‘in the

context of international affairs and national security,’” “his power is more circumscribed when he

addresses a purely domestic economic issue.” Doe #1 v. Trump, 957 F.3d 1050, 1067 (9th Cir.

2020) (quoting Trump v. Hawaii, 138 S. Ct. 2392, 2409 (2018)). As the Ninth Circuit recently

explained in a related context, the provision does not provide “limitless power to deny visas to

immigrants.” Id. at 1065.

        Amici submit that the Proclamation’s indiscriminate and sudden suspension of

nonimmigrant visa programs, including the H-1B program for highly-skilled individuals and L-1

program for intracompany transfers, fundamentally disserves the interests of the United States by

stifling the ability of U.S. businesses to attract the world’s best talent, drive innovation, and further

American economic prosperity. The Proclamation essentially nullifies a carefully balanced and

congressionally approved framework for legal immigration, “raising serious questions as to

whether the President has effectively rewritten provisions of the INA.” Doe #1, 957 F.3d at 1067.

And because it “was issued with virtually no factual findings,” with “minimal reasoning,” id., and

against the weight of authority demonstrating the benefits of these programs, it cannot support a

“find[ing]” that the suspension serves “the interests of the United States.” 8 U.S.C. § 1182(f).

        Already global competitors in Canada, China, and India, among others, are pouncing at the

opportunity to attract well-trained, innovative individuals. And American businesses are

scrambling to adjust, hiring needed talent to work in locations outside our nation’s borders. The

Proclamation did not consider these costs. And it was based on the false assumption that the

suspension would protect domestic workers. In fact, amici and American businesses more broadly

will continue to be irreparably damaged by the Proclamation, to the detriment of their workers and

customers, the broader economy, and the future of American innovation and leadership.



                                                    3
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 13 of 34



                                         ARGUMENT

I.      The Suspended Visa Programs Have A Well-Established And Documented Track
        Record Of Benefiting The U.S. Economy.

        Congress enacted and refined the H-1B, H-2B, and L-1 visa programs, recognizing that

they would benefit the U.S. economy. Study after study and expert after expert have confirmed

as much: these programs have driven innovation, increased employment, and fueled economic

growth, with scant evidence of detrimental effects on domestic employees. And amici’s real-

world experiences reinforce the conclusions of these many academic and governmental

analyses.3

        A.     The H-1B program for specialty occupations boosts the U.S. economy.

        The H-1B program provides temporary visas and employment authorization for

“specialty” occupations, conditioned on Department of Labor certification of a Labor Condition

Application. See 8 C.F.R. § 214.2(h). Since its establishment in 1952, the H-1 visa

classification has allowed U.S. employers to hire professionals born outside the country. Since

1990, this category has been subject to numerical limits and a labor condition application and has

been designated the “H-1B visa.” Today it is most commonly associated with the science,

technology, engineering, and mathematics (STEM) disciplines. The modern economy

increasingly depends on complex information technology and management of vast troves of data.

Accordingly, American companies across many sectors and areas of the country employ H-1B

visa holders in many capacities, including as operation research analysts, software engineers,

database architects, system analysts, and scientists directly engaged in research and development


 3
     See, e.g., Letter from 324 Employers and Trade, Industry, and Higher Education Associations
     and Groups Across the American Economy Focused on the High-skilled Workforce to
     President Donald J. Trump, Secretary of State Michael Pompeo, Secretary of Labor Eugene
     Scalia, and Acting Secretary of Homeland Security Chad Wolf (May 21, 2020),
     https://bit.ly/3fuKvLd.


                                                4
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 14 of 34




of all types.4 These individuals are central to the daily operation and continued growth of

American businesses across industries. And research overwhelmingly shows that these “H-1B

visa holders do not adversely affect U.S. workers” but rather benefit them, as the H-1B program

“increases innovation, productivity and profits at H-1B employers and boosts total productivity

and innovation in the United States,” as well as “employment among other workers in an

occupation.”5

        That is to say, “[a]rguments that [these] highly skilled, temporary foreign workers are

freezing out [U.S.-born] workers are rebutted by the best available empirical evidence.”6

Contrary to the Proclamation’s premise, unemployment rates are very low for jobs that use large

numbers of H-1B visas—like STEM occupations—signaling that labor demands for these

positions already exceeds the supply.7 The data further reveal that “H-1B workers complement

U.S. workers, fill employment gaps in many STEM occupations, and expand job opportunities

for all.”8 Modeling of a modest expansion of the program projected the creation of more than 1

million new jobs over 25 years,9 while modeling of its elimination projected a marked reduction


 4
     See, e.g., American Immigration Council, The H-1B Visa Program: A Primer on the
     Program and Its Impact on Jobs, Wages, and the Economy (Apr. 2020),
     https://bit.ly/2EViDmZ at 6 (noting diversity of occupations and geographic areas).
 5
     Madeline Zavodny, The Impact of H-1B Visa Holders On The U.S. Workforce, National
     Foundation for American Policy, NFAP Policy Brief (May 2020), https://bit.ly/3gyJkf0 at 1–
     2 (citing and summarizing studies).
 6
     American Immigration Council, supra note 4, at 4 (surveying studies).
 7
     National Foundation for American Policy, Analysis of Employment Data for Computer
     Occupations, NFAP Policy Brief (May 2020), https://bit.ly/2PugvEA.
 8
     American Immigration Council, supra note 4 (citing studies); see also May 21, 2020 Letter
     by 324 Signatories, supra note 3 at app. 2-4 (citing studies).
 9
     Frederick R. Treyz, Corey Stottlemyer, & Rod Motamedi, Key Components of Immigration
     Reform: An Analysis of the Economic Effects of Creating a Pathway to Legal Status,
     Expanding High-Skilled Visas, and Reforming Lesser-Skilled Visas, Regional Economic
     Models, Inc. (2013), https://bit.ly/31myL8C at 1.


                                                 5
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 15 of 34




in GDP.10 Further, “[o]verwhelming evidence shows that H-1B workers do not drive down

wages of [U.S.-born] workers”—and indeed may lead to increased wages for employees in the

United States.11

        B.     The H-2B program for nonagricultural workers also serves an essential role
               in the economy.

        The H-2B program covers temporary nonagricultural workers, and is often used in the

landscaping, hospitality, forestry, and food processing industries to meet seasonal demand.12 By

law, an H-2B visa can be issued only when the United States Department of Labor determines

that “qualified workers in the United States are not available and that the alien’s employment

will not adversely affect wages and working conditions of similarly employed United States

workers.” 8 C.F.R. § 214.2(h)(6)(iv)(A); see also 8 U.S.C. § 1101(a)(15)(H)(ii)(b) (limiting

such visas to when “unemployed persons capable of performing such service or labor cannot be

found in this country”).

        Like the H-1B program, the H-2B program is linked to increased employment for

domestic workers and increased economic activity. One study found that “100 H-2B workers

results in an additional 464 jobs” for US workers.13 An April 2020 study by the Government



10
     Michael E. Waugh, Firm Dynamics and Immigration: The Case of High-Skilled Immigration,
     Nat’l Bureau of Econ. Research (Working Paper No. 23387, 2017), https://bit.ly/3fAXURY
     at 29.
11
     American Immigration Council, supra note 4, at 3.
12
     United States Government Accountability Office (GAO), H-2B VISAS: Additional Steps
     Needed to Meet Employers’ Hiring Needs and Protect U.S. Workers (Apr. 2020),
     https://bit.ly/3i94y3y at 11–12.
13
     Madeline Zavodny, Immigration and American Jobs, American Enterprise Institute for
     Public Policy Research & Partnership For a New American Economy (Dec. 2011),
     https://bit.ly/3a3xaZ9 at 11; see also Madeline Zavodny & Tamar Jacoby, The Economic
     Impact of H-2B Workers, U.S. Chamber of Commerce & ImmigrationWorks USA (2010),
     https://bit.ly/39YlkQ4.


                                                6
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 16 of 34




Accountability Office (GAO) similarly found a positive correlation between H-2B workers and

economic activity. According to the GAO, “employers reported shutting down operations in the

absence of H-2B workers,” explaining that “barriers to finding U.S. workers [for the same

positions] included remote location and seasonality of the work.”14 “Most” of the interviewed

employers said their business planning was negatively affected by uncertainty about the

availability of H-2B visas, a consideration of relevance to the current executive action; 12 of 14

employers studied who were unable to obtain requested visas saw decreased revenues; and

companies supplying those employers similarly saw their own sales decrease when H-2B

workers were unavailable.15 The GAO analyses also revealed that “counties with H-2B

employers generally had lower unemployment rates and higher weekly wages than those without

H-2B employers.”16

           The Executive Branch itself recently recognized the importance of the H-2B program in

responding to the COVID-19 pandemic. On May 14, 2020, the Department of Homeland

Security issued a temporary final rule to allow more flexibility in hiring or extending the

employment of H-2B visa holders already in the country. 85 Fed. Reg. 28843 (May 14, 2020).

Although the change was directed only at the food supply chain, DHS acknowledged that other

roles filled by H-2B workers were “nonetheless critical to public health and safety, or the

economic and national security and resilience of the nation’s critical infrastructure.” Id. at n.11.

Similarly, prior to the Proclamation, the Department of State announced that it would continue to

process H-2 applications at consular posts as a “national security priority,” notwithstanding the



14
     GAO, supra note 12 at 2.
15
     Id.
16
     Id. at 13–14.


                                                  7
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 17 of 34




suspension of “routine” visa services as a result of COVID-19.17 As the Department of State

explained, this was because “the H-2 program is essential to the economy and food security of

the United States and is a national security priority.”18

           C.     The L-1 visa program for intracompany transfers keeps jobs in the U.S. and
                  boosts the competitiveness of U.S. companies.

           The L-1 program allows multinational companies to temporarily transfer existing

employees to the United States to perform “managerial” or “executive” functions, or functions

requiring “specialized knowledge” of the company’s products, processes, or procedures. 8

U.S.C. § 1184(c)(2)(D). Congress enacted this program 50 years ago to remove restrictions on

“the exchange and development of managerial personnel from other nations vital to American

companies competing in modern-day world trade.” H.R. Rep. No. 91-815, at 5 (1970), 1970

U.S.C.C.A.N. (84 Stat. 116) 2750, 2754. The L-1 category was visionary in allowing a firm to

transfer existing employees to where they are needed to maximize business growth; it is a

workforce relocation tool for a global economy. Or in the words of USCIS, the program ended

prohibitions that “unduly restricted the transfer and development of foreign personnel vital to the

interests of U.S. businesses.”19 “Congress has determined that the ability to transfer company

personnel with specialized knowledge is important in fostering the growth and competitiveness

of U.S. businesses. Companies should be able to transfer their specialized knowledge employees

to do business in an increasingly global marketplace.”20




17
     United States Department of State, Important Announcement on H2 Visas, Bureau of
     Consular Affairs (Mar. 26, 2020), https://bit.ly/2C0nyll.
18
     Id.
19
     Memorandum from USCIS on L-1B Adjudications Policy, PM-602-0111, (Aug. 17, 2015),
     https://bit.ly/2PscUXI at 2.
20
     Id. at 15.

                                                   8
          Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 18 of 34




         Congress’s expectation and goal have been borne out. As one study explains, “[f]ar from

displacing U.S. workers on net, allowing multinationals to bring employees into the United

States from abroad prevents them from moving their entire operations abroad.”21 To the same

end, on May 21, 2020 (well into the COVID-19 pandemic), 324 employers and organizations

who rely on high-skilled workforces wrote to the Administration to explain that the program

“plays a direct role in supporting job creation and job retention in the United States, as well as

expanding U.S. advanced manufacturing, continuing U.S.-centered research and development,

increasing exports from the U.S., and encouraging foreign direct investment into the U.S.”22


II.      Unless It Is Enjoined, The Proclamation Will Continue To Impose Irreparable
         Harm On Businesses And The Nation’s Economy.

         The Proclamation jeopardizes the benefits of nonimmigrant visa programs. Absent an

injunction, roughly 20,000 U.S. employers seeking to hire foreign workers will be impacted by

year’s end.23 And while the Administration suggests its actions have “clear[ed] the American job

market of competition,”24 no evidence supports this. In reality, based on numerous studies and the

experience of amici, the impact on American workers, businesses, and the economy more broadly

will be adverse, enduring, and irreparable.




21
      David J. Bier, The Facts About the L-1 Visa Program, Cato at Liberty (June 10, 2020),
      https://bit.ly/2EWvrtl.
22
      May 21, 2020 Letter by 324 Signatories, supra note 3.
23
      David J. Bier, About 20,000 U.S. Employers Are Affected by Trump’s Travel Bans This Year,
      Cato at Liberty (July 16, 2020), https://bit.ly/3i9NxGw.
24
      See Ken Cuccinelli (@HomelandKen), Twitter (June 22, 2020), https://twitter.com/
      HomelandKen/status/1275201179920760839.


                                                  9
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 19 of 34




           A.     Many leading businesses have recognized that the indefinite suspension of
                  nonimmigrant visas threatens U.S. competitiveness, ingenuity, and growth.

           After the President announced the Proclamation, many of America’s leading companies,

including many amici, denounced the policy as harmful to innovation and growth, particularly in

light of the COVID-19 pandemic. Amazon stated that “[p]reventing high skilled professionals

from entering the country and contributing to America’s economic recovery puts America’s global

competitiveness at risk.”25 Facebook recognized that “[h]ighly-skilled visa holders play a critical

role in driving innovation,” which is “something we should encourage, not restrict.”26 Uber

unequivocally stated the suspension “will hurt American businesses.”27 Apple CEO Tim Cook

said he was “[d]eeply disappointed by [the] proclamation,” adding: “[T]his nation of immigrants

has always found strength in our diversity, and hope in the enduring promise of the American

Dream. There is no new prosperity without both.”28 Microsoft President Brad Smith observed

“[n]ow is not the time to cut our nation off from the world’s talent or create uncertainty and

anxiety.”29 Google CEO Sundar Pichai, a first-generation immigrant, was similarly

“[d]isappointed,” recognizing that “[i]mmigration has contributed immensely to America’s

economic success” and “ma[de] it a global leader in tech.”30 And PayPal CEO Dan Schulman



25
     Jason Henry, The Visas and The Fury, New York Times (June 23, 2020),
     https://nyti.ms/2XvR6yG.
26
     Id.
27
     Steven Musil, Trump Executive Order Suspending H-1B Visas Takes Heat From Tech
     Giants, CNET (June 23, 2020), https://cnet.co/3fDtnTO.
28
     See Tim Cook (@tim_cook), Twitter (June 23, 2020), https://twitter.com/tim_cook/
     status/1275407136256712707.
29
     See Brad Smith (@BradSmi), Twitter (June 22, 2020), https://twitter.com/BradSmi/
     status/1275232627453288450.
30
     See Sundar Pichai (@sundarpichai), Twitter (June 22, 2020), https://twitter.com/
     sundarpichai/status/1275192075214966784.


                                                 10
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 20 of 34




warned that the suspension “will slow our progress as a nation” by blocking “current employees

[who are] looking to bring their talents to the U.S.” and depriving American businesses of

“talented individuals who are filling roles that would otherwise remain vacant.”31

        Amici and many other leading businesses and organizations, particularly those with

substantial R&D needs, share these views. They are rooted in a common understanding, informed

by experience and backed by empirical research: That nonimmigrant visa programs help drive

American innovation, competitiveness, and growth, and their suspension—for any amount of

time—irreparably harms American workers, businesses, and the economy.

        B.     The Proclamation is likely to drive talent abroad to the detriment of the U.S.
               economy and the benefit of its global competitors.

        Rather than “free[ing] up” positions for domestic workers,32 the suspension forces many

companies to create jobs outside the U.S., particularly for highly-specialized positions like those

for which H-1B visa holders qualify. The vast majority of H-1B visa holders work in computer

occupations.33 The U.S. labor market for these highly-specialized positions is very tight, and the

COVID-19 pandemic only compounds this reality by increasing the public’s reliance upon

technology and employers’ need to fill tech-related positions.

        The Proclamation cites increased unemployment in (unspecified) “industries where

employers are currently requesting H-1B and L workers to fill positions,”34 and suggests that entry


31
     See Dan Schulman, LinkedIn (June 22, 2020), https://bit.ly/2PuvYol.
32
     See Transcript of White House Background Press Call Concerning the June 22 Presidential
     Proclamation Suspending Entry of Certain Nonimmigrants (June 22, 2020),
     https://perma.cc/Z9YU-MUZK (quoting an individual who the White House described as a
     “senior administration official”).
33
     Stuart Anderson, New Trump H-1B Visa Restrictions Will Harm Companies, Forbes (June 23,
     2020), https://bit.ly/2Dhf3TQ.
34
     Proclamation 10052 of June 22, 2020, Suspension of Entry of Immigrants and
     Nonimmigrants Who Present a Risk to the United States Labor Market During the Economic

                                                 11
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 21 of 34




of additional nonimmigrant visa workers “presents a significant threat to employment opportunities

for Americans affected by the extraordinary economic disruptions caused by the COVID-19

outbreak.”35 But the unemployment rate in the U.S. for individuals in computer occupations

declined from 3% in January of this year to 2.8% in April, and further still to 2.5% in May, while

the jobless rate for all other occupations more than tripled from 4.1% to 13.5%.36

           The indefinite suspension of nonimmigrant visas, many of which would help fill positions

in an increasingly tight high-skill labor market, will drive the search for applicants abroad. One

recent and widely-cited empirical study, for example, concluded that “increasingly stringent

restrictions on H-1B visas,” like the 2004 drop in the H-1B visa cap, “direct[ly]” led to increased

employment at foreign affiliates of U.S. multinationals.37 Such restrictions drove firms to open

new foreign affiliates and to increase employment at existing foreign locations, with the strongest

effect “among R&D-intensive firms.”38 Crucially, in response to prior curbs on nonimmigrant

visas, U.S. multinationals not only increased the absolute levels but also the share of their total

foreign employment, primarily to three countries: Canada, with its close proximity and more

flexible high-skilled immigration policies, as well as India and China, which are rich in high-

skilled human capital.39 As the study cautions, any policies ostensibly seeking to mitigate


     Recovery Following the 2019 Novel Coronavirus Outbreak, 85 Fed. Reg. 38263 (June 25,
     2020), https://bit.ly/2PrxbN1.
35
     Id.
36
     Anderson, supra note 33.
37
     Britta Glennon, How Do Restrictions on High-Skilled Immigration Affect Offshoring?
     Evidence from the H-JB Program, University of Pennsylvania, Wharton School (Paper No.
     3547655, Feb. 21 2020), https://bit.ly/39XDscO at 24; see also William W. Olney & Dario
     Pozzoli, The Impact of Immigration on Firm-Level Offshoring, Dept. of Economics,
     Williams College (June 13, 2019), https://bit.ly/3a36loa.
38
     Glennon, supra note 37, at 25.
39
     Id.


                                                  12
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 22 of 34




unemployment among Americans should consider that policies aimed at reducing immigration

have the unintended consequence of encouraging firms to move jobs abroad.40 Of course, that

hardly “protect[s] unemployed Americans from the threat of competition for scarce jobs,” as the

Proclamation professes to do.41

        This is straightforward: Diverting skilled workers overseas deprives the U.S. of critical

talent needed to sustain growth and drive innovation. And the need for these skills is all the more

acute due to the COVID-19 pandemic. If these highly specialized workers cannot come to the

United States, employers will be forced to employ them overseas—often along with other

supporting employees and resources—or else give up that function altogether, harming their

business.

        One especially problematic spillover is the disruption of U.S.-based R&D activities across

the manufacturing, biomedical, semiconductor, and many other sectors. The United States

performs one-quarter of global STEM R&D, the largest percentage for any nation, and the share of

R&D performed in the U.S. has been on the rise in the past decade.42 73% of all development

research in the U.S. is performed by private-sector businesses, with 80% of that research

performed by U.S. multinational firms well-situated to send high-skilled jobs abroad to triage

ongoing harms that the H- and L-visa suspensions are causing.43 “From a nationalistic perspective,

this is problematic; if skilled foreign-born workers are at a U.S. firm’s foreign affiliate instead of in




40
     Id. at 24–26.
41
     Proclamation 10052, supra note 34.
42
     Mark Boroush, Research and Development: U.S. Trends and International Comparisons,
     National Science Foundation (Jan. 15, 2020), https://bit.ly/2Puq8mK.
43
     Id. at 7–8, 16, 33–38.


                                                   13
         Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 23 of 34




the U.S., the innovative spillovers that they generate will go to another country instead.”44 And as

other leading economists have observed, “[l]ost technological and productivity growth in the US

could mean increased growth elsewhere.”45

        Predictably, other countries are poised to benefit from the U.S.’s wholesale suspension of

nonimmigrant visas. As Box, Inc. CEO Aaron Levie warned, when “you restrict immigration, the

jobs still get created, just somewhere else.”46 One Fortune 100 CEO put a finer point on it,

suggesting the Proclamation “may be a Canadian Jobs Creation Act. You can go to Toronto and

hire people there and work quite effectively.”47 Indeed, Twitter’s Canadian chairman, Patrick

Pichette, offered his own message to H-1B seekers: “[J]ust look to the North, where we welcome

you (and your family) with open arms.”48 And the CEO of a major Ottawa-based ecommerce

platform similarly urged individuals affected by the suspension to “consider coming to Canada

instead.”49

        The diversion of top talent is already happening. The CEO of a leading consulting firm

explained that instead of rescinding offers to those affected by the new H-1B and L-1 visa rules,




44
     Glennon, supra note 37, at 25.
45
     Giovanni Peri & Chad Sparber, Presidential Executive Actions Halting High Skilled
     Immigration Hurt the US Economy, U.C. Davis Global Migration Center (July 2020),
     https://bit.ly/2DAAS0q.
46
     See Aaron Levie (@levie), Twitter (June 22, 2020), https://twitter.com/levie/status/
     1275194199822856192.
47
     Andrew Edgecliffe-Johnson, U.S. Companies Say Visa Rules Are Jobs Boon for Canada,
     Financial Times (June 26, 2020), https://perma.cc/MP7G-ZSKB.
48
     See Patrick Pichette (@pichette), Twitter (June 22, 2020), https://twitter.com/pichette/
     status/1275257776835608576.
49
     See Tobi Lutke (@tobi), Twitter (June 23, 2020), https://twitter.com/tobi/status/
     1275406372411146245.


                                                 14
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 24 of 34




the firm will “by necessity . . . move them to other countries, probably Canada.”50 Similarly, one

Berlin-based online realtor had “raised a total of $15 million in venture capital funding” to “hire up

to 50 American workers in its New Jersey and California offices.”51 But due to the Proclamation,

it is considering moving their “North American headquarters to Toronto.”52

           At the same time, global competitors are aggressively updating their immigration systems

to attract skilled workers. For example, the UK fast-tracks visas for scientists and “plans to

overhaul its immigration system to lower barriers for skilled workers.”53 Australia launched a

Global Talent program that recruits highly-skilled workers worldwide.54 France has introduced the

French Tech Visa, “a simplified, fast-track scheme for non-EU startup employees, founders and

investors to obtain a [French] residence permit.”55 These countries realize, as one of China’s

leading venture capitalists put it, that “while the US is driving talent away, it is the perfect time for

us to race to bring them back.”56

           C.     The sudden suspension of nonimmigrant visas is harming U.S. businesses
                  and workers in ways that will have lasting impacts.

           The Proclamation is based on the assumption that nonimmigrant visa programs “pose an

unusual threat to the employment of American workers.”57 That is simply wrong.


50
     Edgecliffe-Johnson, supra note 47.
51
     Shelly Banjo, Trump’s Visa Ban Is Already Hurting Some Tech Job Growth, Bloomberg
     (July 6, 2020), https://bloom.bg/3ibD7pJ.
52
     Id.
53
     Zachary Arnold & Tina Huang, The US Is Turning Away the World’s Best Minds—And This
     Time, They May Not Come Back, MIT Technology Review (July 14, 2020),
     https://bit.ly/33vmLEw.
54
     Id.
55
     French Tech Visa, https://bit.ly/30ti6Ro.
56
     Arnold & Huang, supra note 53.
57
     Proclamation 10052, supra note 34.


                                                   15
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 25 of 34




           One prominent economic analysis found that between 1990 and 2010, a 1 percentage point

increase in the “foreign STEM share of a city’s total employment”—“made possible by the H-1B

visa program”—increased the wage growth of U.S.-born college-educated labor by 7–8 percentage

points and the wage growth of non-college-educated U.S.-born workers by 3–4 percentage

points.58 A key reason for this result is the skillset complementarity between domestic and foreign-

born workers.59 On the flip side, the notion that curbing H-1B inflows somehow helps domestic

workers finds little support. When polled in 2017, not a single member of the University of

Chicago’s IGM Economic Experts Panel—which includes over 40 leading economists from

Harvard, Yale, Princeton, MIT, Stanford, and Berkeley—agreed with the following proposition:

“If the U.S. significantly lowers the number of H-1B visas now, employment for American

workers will rise materially over the next four years.”60 And yet the Proclamation adopts this false

assumption as its core premise. Indeed, it goes a step further, suggesting that, aside from the

suspension, little “alternative means” exist to avoid a “potentially protracted economic recovery

with persistently high unemployment.”61 In reality—and contrary to the Proclamation’s stated goal

of “protect[ing] unemployed Americans from the threat of competition” purportedly posed by

would-be visa holders62—research suggests curbing H-1B visas depresses domestic wages, with

“low-skilled workers [harmed] in particular.”63


58
     Giovanni Peri, Kevin Shih, & Chad Sparber, STEM Workers, HJB Visas, and Productivity in
     US Cities, 33 J. Labor Econ. S225, S252 (2015), https://bit.ly/3abRAQ1.
59
     See id. at S245, S247–48.
60
     81% percent of the participants disagreed with the proposition and the remaining 19% were
     uncertain. See IMG Forum, High-Skilled Immigrant Visas, University of Chicago Booth
     (Feb. 14, 2017), https://bit.ly/3gxUIYI.
61
     Proclamation 10052, supra note 34.
62
     Id.
63
     Waugh, supra note 10, at 3, 31.


                                                  16
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 26 of 34




           Specifically, an economic study modeling the “complete elimination” of the H-1B visa

program found “essentially zero” change to wages for high-skilled Americans in year one and a

relatively “sharp[]” near-term drop for low-skilled wages.64 The model also found a corresponding

drop in GDP, beginning with a 0.13% drop in year one and culminating in a 3.7% decrease over

time if the policy were to stand.65 Restricting high-skilled immigration is likely to have many such

“unintended[] negative consequences”66 and will do nothing to shield Americans from

“displac[ement] and disadvantag[e] . . . during the current recovery,” as the Proclamation aims to

do.67

           It would be a mistake to view the Proclamation’s impact as limited to the duration of the

COVID-19 crisis. While the suspension forces companies to make decisions in the short-term—

such as the diversion of employment to foreign affiliates—these decisions will have irreversible

long-term effects. Again, new H-1B hires or intracompany L-1 transfers that would have driven

growth in the United States will instead go elsewhere, and once those decisions are made—and the

corresponding hires, training, team building, and business plans are implemented in another

country—there is often no turning back. The U.S. economy, and U.S. workers and employers, will

suffer permanent harm, even if the President does not seek to extend the suspension beyond this

year.

           In a June 2020 survey of the aforementioned IGM Economic Experts Panel, a full 98% of

leading economists either “agreed” or “strongly agreed” that, “[e]ven if it is temporary, the ban on




64
     Id. at 14, 27–29.
65
     Id. at 29.
66
     Id.
67
     Proclamation 10052, supra note 34.


                                                    17
           Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 27 of 34




visas for skilled workers, including researchers, will weaken US leadership in STEM and R&D.”68

And 93% of those same economists felt that “[s]ignificantly fewer top foreign students will be

attracted to US universities as a result of increased restrictions on visas for skilled workers.”69

Again, research confirms this.70 By shrinking the number of foreign students who would otherwise

seek to build a life in the U.S., America deprives itself of a wealth of future entrepreneurs and

innovators.71

           The immediate impact of the Proclamation is evident among the amici. Signatories play

key roles in the information and communications technology sectors, and their inability to reliably

secure H-1B and L-1 visas disrupts new product roll-outs, upgrades, and production efforts. These

programs are all key to meeting surge capacity or R&D deadlines tied to telemedicine, work-from-

home, and distance learning, all vital to the U.S. response to the COVID-19 pandemic. One

signatory runs a leading business relying on a highly integrated global supply chain, where

shortages in one region cannot readily be mitigated by production in other regions. This requires

bringing expert engineers from its offices in other regions of the world or having its suppliers do

so. But without access to L-1B visas, deadlines will be missed and equipment repairs delayed.

This affects not only the company but the nation, because the company’s technology supports

healthcare, hospital systems, virtual learning, remote working, data centers, cloud services, critical



68
     IMG Forum, New Visa Ban, University of Chicago Booth (June 26, 2020),
     https://bit.ly/33w8Aig.
69
     Id.
70
     See, e.g., Takao Kato & Chad Sparber, Quotas and Quality, The Effect of H-1B Visa
     Restrictions on the Pool of Prospective Undergraduate Students from Abroad (May 2010),
     https://bit.ly/3kozGhF at 2 (“Since foreign-student interest in a US degree is partly driven by
     the hope that it will improve access to the US labor market, policies reducing H-1B visas are
     likely to deter foreign students from pursuing tertiary American education.”).
71
     See id.


                                                   18
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 28 of 34




manufacturing, and service industries.

       Other signatories facilitate short-term U.S.-based work for managers as L-1A visa holders

or specialized knowledge L-1B professionals. One might need dozens of L-1B engineers on U.S.

assignment for a four- to six-week period carefully timed with American colleagues to complete

joint troubleshooting on a new product. Another might need L-1A visa holders to manage

functions over a years-long period key to clinical testing of a new food product or developing

proprietary trading or financial services. All these carefully laid plans have been thrown into

tumult in ways that will inflict harm for years to come.

                                          CONCLUSION

       The President’s suspension of nonimmigrant visa programs, supposedly to “protect”

American workers, actually harms those workers, their employers, and the economy. Rather than

shielding domestic workers from the threat of foreign competition, the Proclamation all but ensures

that firms will need to hire abroad to fill highly-skilled positions, for which the domestic demand

far exceeds the available supply of workers. Extensive economic research confirms that more, not

less, nonimmigrant visas drives positive economic outcomes for U.S. workers, businesses, and the

national economy.

       But beyond the overwhelming data undermining the Proclamation’s purported rationale,

the Administration’s actions send a fundamentally un-American message to those abroad who

might otherwise have brought their skills and ingenuity to the United States. For many decades,

this country has been a magnet to these talented people, who have—along with U.S.-born workers

and innovators—made our economy the most dynamic in the world. The Proclamation prevents

U.S. companies from attracting the world’s best and brightest, and deprives those innovative,

highly-skilled individuals of opportunities to further America’s short-term recovery and long-term

economic growth.

                                                 19
       Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 29 of 34




Dated: August 10, 2020                           Respectfully submitted,

                                                 /s/ Stuart F. Delery
Ethan D. Dettmer*                                Theodore B. Olson, SBN 367456
Jonathan N. Soleimani*                           Stuart F. Delery, SBN 449890
GIBSON, DUNN & CRUTCHER LLP                      David A. Schnitzer, SBN 1022420
555 Mission Street, Suite 3000                   GIBSON, DUNN & CRUTCHER LLP
San Francisco, CA 94105-0921                     1050 Connecticut Avenue, N.W.
Tel.: 415-393-8200                               Washington, DC 20036-5306
Fax: 415-393-8306                                Tel.: 202-955-8500
 *pro hac vice application forthcoming           Fax: 202-467-0539

                                   Counsel for Amici Curiae




                                            20
      Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 30 of 34




                               APPENDIX: LIST OF AMICI

1.    Adobe Inc.

2.    Alliance of Business Immigration Lawyers

3.    Amazon.com, Inc.

4.    Apple Inc.

5.    Atlassian, Inc.

6.    Autodesk, Inc.

7.    Bates White, LLC

8.    Box, Inc.

9.    BSA Business Software Alliance, Inc. d/b/a BSA | The Software Alliance

10.   Consumer Technology Association

11.   Denver Metro Chamber of Commerce

12.   Dropbox, Inc.

13.   Facebook, Inc.

14.   FWD.us Education Fund

15.   GitHub, Inc.

16.   Hewlett Packard Enterprise Company

17.   HP Inc.

18.   HR Policy Association

19.   Information Technology Industry Council

20.   Institute of International Bankers

21.   Intel Corp.

22.   Internet Association

23.   Juniper Networks, Inc.

                                            1
      Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 31 of 34




24.   LinkedIn Corporation

25.   Metro Atlanta Chamber

26.   Microsoft Corporation

27.   Netflix, Inc.

28.   New Imagitas, Inc.

29.   North Texas Commission

30.   Partnership for a New American Economy Research Fund

31.   PayPal, Inc.

32.   Plaid Inc.

33.   Postmates Inc.

34.   Reddit, Inc.

35.   salesforce.com, inc.

36.   SAP SE

37.   Semiconductor Industry Association (SIA)

38.   ServiceNow, Inc.

39.   Shutterstock, Inc.

40.   Silicon Valley Bank

41.   Society for Human Resource Management (SHRM)

42.   Splunk Inc.

43.   Square, Inc.

44.   SurveyMonkey Inc.

45.   Twitter, Inc.

46.   Uber Technologies, Inc.



                                           2
      Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 32 of 34




47.   Upwork Inc.

48.   Vail Valley Partnership

49.   VMware, Inc.

50.   Workday, Inc.

51.   Xylem Inc.

52.   Zillow Group, Inc.




                                     3
        Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 33 of 34




                            CERTIFICATE OF COMPLIANCE

       I hereby certify that that the foregoing brief contains 5351 words, and complies with the

requirements of Local Civil Rules 5.4 and 7(o).



                                            /s/ Stuart F. Delery
                                            Stuart F. Delery
       Case 1:20-cv-01419-APM Document 82 Filed 08/12/20 Page 34 of 34




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of August, 2020, I caused a copy of the foregoing to

be served upon all parties via CM/ECF.



                                             /s/ Stuart F. Delery
                                             Stuart F. Delery
